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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )       CIVIL ACTION NO.:
vs.                                 )       1:22-cv-04149-WMR
                                    )
FELICIA FRANKLIN, in her individual )       JURY TRIAL DEMANDED
and official capacities;            )
ALIEKA ANDERSON, in her individual)
and official capacities;            )
GAIL HAMBRICK, in her individual )
and official capacities; and        )
CLAYTON COUNTY, GEORGIA,            )
                                    )
      Defendants.                   )

     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT ALIEKA
       ANDERSON’S MOTION FOR JUDGMENT ON THE PLEADINGS

        COMES NOW, Plaintiff Ramona Bivins (“Ms. Bivins”), and files her

response in opposition to the Motion for Judgment on the Pleadings filed by

Defendant Alieka Anderson (Doc. 29), showing the Court as follows:

I.      INTRODUCTION
        Defendant Anderson’s motion for judgment on the pleadings parrots

Defendant Hambrick’s motion to dismiss (Doc. 22) by making the same flawed legal

arguments. Contrary to those arguments, Plaintiff’s Complaint stated a compelling,

plausible claim against Anderson for First Amendment Retaliation in violation of

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Plaintiff’s right to intimate association with her husband, Charlton Bivins, and

Anderson had fair notice that her conduct violated clearly established law, thereby

precluding her from receiving qualified immunity.

II.   ARGUMENT AND CITATION OF AUTHORITY
      A motion for judgment on the pleadings under Fed. R. Civ. P. 12(c) is

adjudicated under the same legal standard as a motion to dismiss under Fed. R. Civ.

P. 12(b)(6). When confronted with a motion to dismiss, Plaintiff carries the burden

of demonstrating that her facts amount to a plausible claim. See Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007). This is accomplished by pleading “enough facts

to raise a reasonable expectation that discovery will reveal evidence…” to support

the claim at issue. Id. In other words, a plaintiff must plead enough facts to plausibly

suggest that the claim is viable. Id. at 557. In Ashcroft v. Iqbal, 556 U.S. 662, 677

(2009) the Supreme Court reenforced the ‘plausibly suggests’ standard: A complaint

must only “plausibly suggest an entitlement to relief.” Id. at 681. Moreover, to

plausibly suggest that a particular claim is viable does not require a surplus of well-

pled facts; Fed. R. Civ. P. 8(a)(2) only requires a “short and plain statement of the

claim showing that the pleader is entitled to relief….” Indeed, Fed. R. Civ. P. 8(a)(2)

has created a fair-notice standard for complaints and thus only necessitates “short

and plain statements” that “give the defendant fair notice of what the ... claim is and

the grounds upon which it rests.” Twombly, 550 U.S. at 555. This is to say that Fed.
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R. Civ. P. 8(a)(2) does not require an “exposition of [Plaintiff’s] legal argument”

and “need not pin plaintiff’s claim for relief to a precise legal theory.” Skinner v.

Switzer, 562 U.S. 521, 530 (2011).

      A complaint challenged under Rules 12 (c) or 12(b)(6) does not have to plead

detailed factual allegations, and there is no requirement of “heightened fact

pleadings of specifics.” Twombly, 550 U.S. at 555, 570. In addition, there exists an

assumption that all factual allegations in the Complaint are true, and all reasonable

inferences derived from those facts must be drawn in Plaintiff's favor. St. George v.

Pinellas Cty., 285 F.3d 1334, 1337 (11th Cir. 2002). In sum, the plausibility standard

requires only that Plaintiff “nudge [her] claims across the line from conceivable to

plausible,” pleading enough facts to support the claim at issue. Twombly, 550 U.S.

at 556.

   A. Plaintiff stated a First Amendment Retaliation claim against Anderson
      The First Amendment protects the right of intimate association, which is “the

freedom to choose to enter into and maintain certain intimate human relationships,”

and it is protected from undue government intrusion “as a fundamental aspect of

personal liberty.” Gaines v. Wardynski, 871 F.3d 1203, 1212 (11th Cir. 2017)

(citing McCabe v. Sharrett, 12 F.3d 1558, 1562–63 (11th Cir. 1994)). The U.S.

Supreme Court and the Eleventh Circuit have long recognized that “[a]t a minimum,


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the right of intimate association encompasses the personal relationships that attend

the creation and sustenance of a family—marriage, childbirth, the raising and

education of children, and cohabitation with one's relatives.” McCabe, 12 F.3d at

1563 (citing Roberts v. United States Jaycees, 468 U.S. 609, 619, 104 S.Ct. 3244,

3250, 82 L.Ed.2d 462 (1984)). Accordingly, a public employee cannot be subjected

to an adverse employment action for exercising her First Amendment right to

intimate association. Gaines, 871 F.3d at 1213. See also Cummings v. DeKalb Cnty.,

24 F.3d 1349, 1354 (11th Cir. 1994); Board of Directors of Rotary International v.

Rotary Club of Duarte, 481 U.S. 537, 107 S.Ct. 1940, 95 L.Ed.2d 474 (1987);

Perry v. Sindermann, 408 U.S. 593, 92 S.Ct. 2694, 33 L.Ed.2d 570 (1972) finding

that a person's involvement in activity shielded by the constitutionally protected

rights of privacy and liberty constitutes an impermissible reason for denying

employment); Adler v. Pataki, 185 F.3d 35, 44 (2d Cir. 1999) (recognizing strong

claim for First Amendment retaliation where plaintiff alleged his state employer

sought “to penalize him with loss of his job because of its displeasure with the

conduct of his wife,” where the wife had sued the state); Adkins v. Bd. of Educ. of

Magoffin Cnty., Ky., 982 F.2d 952, 956 (6th Cir. 1993) (noting that “it is not

necessary that the governmental act require the abandonment or dissolution of a




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marriage relationship as the price for retaining public employment.” (citing Roberts,

468 U.S. at 618–19, 104 S.Ct. at 3249–50.)).

      To state a claim for violation of the First Amendment right to intimate

association, Ms. Bivins was required to plead facts that show that “the asserted right

is protected by the Constitution—which... the right to freedom of intimate

association is—and that [ ] she suffered adverse action for exercising that right.” See

Teblum v. City of Cape Coral Charter Sch. Auth., No. 2:20-CV-547-JLB-MRM,

2021 WL 1172910, at *6 (M.D. Fla. Mar. 29, 2021) (quoting Gaines, 871 F.3d at

1212–13); Miron v. Town of Stratford, 881 F. Supp. 2d 280, 289-291 (D. Conn.

2012).

         Plaintiff pled, inter alia, the following compelling facts regarding Anderson

and her motivation to retaliate against Ms. Bivins due to her marriage to Charlton

Bivins:

 “At all times relevant to this Complaint, Clayton County Commissioners Felicia

   Franklin, Alieka Anderson and Gail Hambrick knew that Ms. Bivins was married

   to Mr. [Charlton] Bivins.” (Doc. 1 at ¶¶ 21-22.)




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 “Throughout March, April, and May 2022, Mr. Bivins openly campaigned for

    the reelection of incumbent Clayton County Commissioner DeMont Davis, who

    was running against a candidate named Janice Scott (“Ms. Scott”).” (Id. at ¶ 23.)1

 “Throughout March, April, and May 2022, Clayton County Commissioners
  Franklin and Anderson, as well as [former] Clayton County Sheriff Victor Hill,
  openly campaigned in support of Ms. Scott and against her opponent,
  Commissioner Davis.” (Id. at ¶ 25.)

 On May 22, 2022, Mr. Bivins assisted Commissioner Davis and local police

    regarding a suspected theft of Davis campaign signs by Scott campaign workers,

    and the public record of this assistance was well known after (1) Victor Hill, with

    the assistance of Defendant Franklin, published on May 24, 2022, the police

    dispatch call in which Mr. Bivins was described by name, and (2) after the

    Clayton Crescent published an article on May 23, 2022, that specifically

    mentioned Mr. Bivins’ support of and assistance to Mr. Davis / Mr. Bivins’

    opposition to Ms. Scott, as well as his marriage to Ms. Bivins. (Id. at ¶¶ 26-34.)




1
  In her motion, Anderson mistakenly states that “Plaintiff alleges that the
Defendants retaliated against her because her husband was campaigning for a
candidate who was running against Commissioner Davis.” (Doc. 29, p. 4.) To the
contrary, Mr. Bivins was campaigning for Commissioner Davis, while Anderson,
Franklin, and former Sheriff Victor Hill were campaigning for the candidate who
was running against Commissioner Davis, Janice Scott. (Doc. 1 at ¶¶ 22-25, 52.)
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 At its monthly meeting on June 7, 2022—two weeks after the campaign sign

   incident—the Board of Commissioners, in a 3-2 vote led by Defendants

   Hambrick, Franklin, and Anderson, voted to terminate Ms. Bivins’ contract with

   Clayton County (“the County”), terminate her employment, require her to

   remove her belongings within 48 hours, and declare her contract ultra vires. (Id.

   at ¶¶ 37-41.)

 “Declaring Ms. Bivins’ Agreement ultra vires was Franklin’s, Anderson’s, and

   Hambrick’s attempt to create a legal basis for the County to refuse to pay Ms.

   Bivins $84,853.86 in severance payments pursuant to Ms. Bivins’ Agreement.”

   (Id. at ¶ 42.)

 “There was no legal justification provided for declaring Ms. Bivins’ Agreement

   ultra vires at the June 7 Board meeting.” (Id. at ¶ 43.)

 “When Commissioner Davis, who voted against termination, asked why Ms.
  Bivins [the County’s CFO for nearly 10 years] was being fired, the Board
  members who favored her dismissal —Franklin, Anderson, and Hambrick — did
  not respond.” (Id. at ¶ 44.)

 “[Chairman Jeffrey] Turner asked the Board to reconsider [its] vote. He then
  questioned where Bivins ‘had fallen down on the job,’ asking if there was a
  record of it. Neither Anderson, Franklin, nor Hambrick commented or answered
  the question. Turner—who authored Ms. Bivins’ performance evaluations—said
  that there is no such record, stating her evaluations have been outstanding the last
  several years.” (Id. at ¶ 46.)



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 “A few minutes after the meeting, Commissioners Franklin and Anderson
  expressed glee at Ms. Bivins’ termination and purportedly voided [the]
  Agreement. Franklin said to Anderson, ‘I can sleep good tonight.’ In response,
  Anderson said, ‘Do I need to get us a bottle?’” (Id. at ¶ 48.)

 “Neither the County, Franklin, Anderson, nor Hambrick have publicly stated why

   Bivins was terminated.” (Id. at ¶ 49.)

 “In contrast with their cold determination to dismiss Ms. Bivins without
  providing any explanation, Anderson, Franklin, and Hambrick demonstrated
  support for Ms. Bivins’ job performance up until they publicly observed that Ms.
  Bivins’ husband was affiliated with Davis’s reelection campaign and/or that Ms.
  Bivins’ husband was ‘interfering’ with Janice Scott’s campaign activities and the
  suspected theft by her campaign workers. For example, Commissioner Anderson
  praised Ms. Bivins’ work on the annual budget approximately two weeks before
  the sign incident occurred.” (Id. at ¶ 50.)

 “Following the campaign sign incident, Anderson, Franklin, and Hambrick

   demonstrated a singular focus to use their power of elective office under color of

   state law to diminish the lives of Mr. and Ms. Bivins.” (Id. at ¶ 51.)

 “The County, through Anderson, Franklin, and Hambrick, was motivated to

   terminate Ms. Bivins because she is married to Mr. Bivins and because Mr.

   Bivins and Ms. Bivins supported Commissioner Davis’s election campaign.” (Id.

   at ¶ 52.)

 “Following Chairman Turner’s vocal opposition to the retaliatory termination of
  Ms. Bivins, on June 21, 2022, Clayton County, led by Commissioners Anderson,
  Franklin, and Hambrick, voted to strip Chairman Turner of significant
  responsibilities as Chairman of the Board as retribution for speaking out against
  the politically motivated termination [of] Ms. Bivins.” (Id. at ¶ 59.)

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 “The County, through Anderson, Franklin, and Hambrick, sought, and continues
  to seek, reimbursement for Ms. Bivins’ tuition payments despite knowing that
  Ms. Bivins’ Agreement permitted the County to pay Ms. Bivins’ tuition for the
  Vanderbilt courses and despite knowing that Anderson’s investigation into the
  matter revealed that the payments were not unauthorized.” (Id. at ¶ 74.)

 “After Anderson asked Mr. Stanford to help her investigate Ms. Bivins’ tuition
  payments, Mr. Stanford offered to pay the County back for his tuition payments.
  When Ms. Anderson heard about this, she told Mr. Stanford, ‘You don’t have to
  do that. We’re only going after Ramona.’” (Id. at ¶ 76.)

 It is a reasonable inference that “We,” as used by Anderson in ¶ 76, referred to

   Anderson, Franklin, and Hambrick, as they were the commissioners that voted

   3-2 to go after Ms. Bivins, and not go after Mr. Stanford, for tuition payments.

   (Id. at ¶ 77.)

      In her threadbare motion, Anderson baselessly labels as “conclusory”

Plaintiff’s well-pled facts regarding Anderson’s retaliatory animus, but Plaintiff’s

Complaint contained ample facts that allege Anderson maintained an

unconstitutional motive and was personally involved in the decisions to terminate

and otherwise retaliate against Ms. Bivins because she was married to Charlton

Bivins, thereby stating a §1983 claim against Anderson for First Amendment

Retaliation. Zatler v. Wainwright, 802 F.2d 397, 401 (11th Cir. 1986) (personal

involvement in the constitutional tort is sufficient to allege causation under § 1983);

Gaines, 871 F.3d at 1212–13. Furthermore, because Plaintiff sufficiently pled that a

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majority of the commissioners (Anderson, Franklin, and Hambrick) acted and voted

with an unconstitutional motive to retaliate against Ms. Bivins, Plaintiff sufficiently

stated a § 1983 claim against the County. See Mason v. Village of El Portal, 240

F.3d 1337, 1340 (11th Cir. 2001) (“[T]here can be no municipal liability unless all

three members of the council who voted against reappointing [p]laintiff shared the

illegal motive.”); Matthews v. Columbia Cnty., 294 F.3d 1294, 1298 (11th Cir. 2002)

(stating and applying the same rule); (Doc 1 at ¶¶ 21-34, 37-52, 59, 74, 76, inter

alia).2 Because Plaintiff met her burden under Rule 8, Anderson’s motion should be

denied.

    B. Anderson is not entitled to Qualified Immunity
       Similar to Hambrick’s motion to dismiss, (Doc. 22), Anderson’s motion

spends considerable time reciting the qualified immunity standard, then concludes,

ignoring the law and Plaintiff’s well-pled factual allegations, that “there is no case

from the U.S. Supreme Court of the 11th Circuit Court of Appeals that would inform

Anderson that voting to non-renew Plaintiff’s contract because it was ultra vires

would somehow violate Plaintiff’s associational First Amendment rights.” (Doc. 29



2
  Anderson’s motion makes mention of Anderson’s policymaking authority with
respect to the standard for holding the County liable under 42 U.S.C. § 1983 (“§
1983”), but Anderson’s counsel neither represents nor moves on behalf of the
County. The County separately moved to dismiss Plaintiff’s § 1983 claim, and
Plaintiff filed a thorough response to that motion. (Docs. 22, 22-1, 33.)
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at pp. 11-12.) This argument is fatally flawed, as it incorrectly defines the

constitutional right at issue and asks this Court to make extreme inferences in

Anderson’s favor with respect to her motives for terminating Plaintiff without the

benefit of discovery and in defiance of the standard for a motion for judgment on the

pleadings. It also ignores all of Anderson’s acts of retaliation following Plaintiff’s

termination, including her actions to get Plaintiff to reimburse the County $37,000

for tuition payments that it voluntarily made on her behalf.

      In ruling on qualified immunity, a court must first determine whether the

complaint, taken in the light most favorable to the plaintiff, alleges facts which, if

proven, would show that the public official violated a constitutional right. Saucier v.

Katz, 533 U.S. 194, 200–01, 121 S.Ct. 2151, 150 L.Ed.2d 272 (2001). If no

constitutional right could have been violated, then there is no need to proceed to the

second step. Id. Thus, as other courts have noted, a determination on a motion for

failure to state a claim and the first step of the qualified immunity analysis merge

when presented in a Rule 12(b)(6) motion. GJR Investments, Inc. v. County of

Escambia, Florida, 132 F.3d 1359, 1366 (11th Cir.1998). If a court finds that a

constitutional right was violated, then the court must determine whether that right

was clearly established in light of the specific context of the case. Saucier, 533 U.S.

at 201, 121 S.Ct. 2151.

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      Here, Plaintiff pled that she had the right to be married to her husband due to

the First Amendment’s protections for intimate association, and that Hambrick’s,

Anderson’s, and Franklin’s acts of terminating her from her government job and

otherwise retaliating against her, all because of her marriage, violated that right.

(Doc. 1 at ¶¶ 87-107.) In performing the qualified immunity analysis, the Eleventh

Circuit has stated as follows:

      The question in this case is not whether there is a First Amendment
      right to intimate association; there is. Nor is the question whether a
      public employee can be subjected to an adverse employment action for
      exercising that right; she can't. Nor is the question whether the
      employee will prevail if the adverse action infringed on her right to
      intimate association; she will.

Gaines, 871 F.3d at 1213.3 The instant case rests on firm precedent from the U.S.

Supreme Court and the Eleventh Circuit that engaging in adverse employment action

against an employee because of their intimate relationship, such as marriage, violates

the employee’s right to intimate association. See, e.g., Id.; Roberts, 468 U.S. at 617–

18, 622; McCabe, 12 F.3d at 1563; Cumming, 24 F.3d at 1354; Rotary Club of

Duarte, 481 U.S. 537; Perry, 408 U.S. 593.




3
  The Gaines court went on to define the constitutional right in that case more
specifically and found that it was not clearly established that it will violate the First
Amendment’s freedom of association right when a public employer fails to promote
an employee because the employee’s father engaged in protected speech. Id.
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      As stated in section II(A), supra, Plaintiff sufficiently pled that Anderson

violated the First Amendment when she voted to terminate Ms. Bivins and otherwise

retaliate against her because Ms. Bivins was married to Charlton Bivins. (Doc 1 at

¶¶ 21-34, 37-52, 59, 74, 76, inter alia.) In her Complaint, Plaintiff also cited binding

U.S. Supreme Court and Eleventh Circuit caselaw to demonstrate that Defendants’

First Amendment violations were clearly established. (Doc. 1 at n. 1-2 (citing

Roberts, 468 U.S. 609; Rotary Club of Duarte, 481 U.S. 537; McCabe, 12 F.3d at

1562-63).) Anderson completely ignores this caselaw in her brief. Indeed, it was

clearly established in June 2022 that terminating or otherwise engaging in adverse

action against a government employee because of who that employee chose to marry

(let alone that her husband was engaged in political speech) violated the First

Amendment’s right to freedom of association, and Anderson is not entitled to

qualified immunity. See Id.

      Anderson’s argument is that it was not clearly established that “voting to non-

renew Plaintiff’s contract because it was ultra vires would somehow violate

Plaintiff’s associational First Amendment rights.” (Doc. 29 at pp. 11-12 (underlined

emphasis added).) Anderson’s phrasing, “because it was ultra vires,” creates an

implicit request for this Court to grant her the extraordinary inference that she

believed at the time that Plaintiff’s contract was in fact ultra vires—and also that she

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had no other, unconstitutional motivation for voting to both non-renew Plaintiff’s

contract and terminate her effective immediately. Fundamentally, granting a

defendant any inferences in a Rule 12(b)(6) or Rule 12(c) motion is improper.

Furthermore, Anderson’s state of mind during her numerous acts of retaliation is a

subject of significant, forthcoming discovery, and the fact that Anderson’s

threadbare legal argument relies so heavily on her state of mind demonstrates why

her argument is premature.

      In addition, the improper inference that Anderson seeks is belied by Plaintiff’s

well-pled facts. For example, in the Complaint, Plaintiff pled that COO Dietrick

Stanford also had a contract that was initiated by a formerly comprised Board of

Commissioners, and that Mr. Stanford’s contract has never been declared ultra

vires. (Doc. 1 at ¶¶ 66-70.) In addition, the Defendant commissioners did not even

vote to declare Plaintiff’s contract ultra vires until after seeking to prematurely hold

a vote to terminate her and voting against renewing her contract. (Id. at ¶¶ 39-41.)

All three Defendant commissioners then refused to answer their fellow

commissioners or the public to explain why Ms. Bivins was being thrown to the

street after 10 years of loyal service and high performance. (Id. at ¶¶ 46-47, 49-50.)

These commissioners’ bellowing collective silence begs the question: if Anderson

(or any of these commissioners) had a sound legal basis for voiding Plaintiff’s

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contract that Anderson suddenly felt compelled to act on without any warning, why

would she remain silent when asked for her rationale by fellow commissioners or

the public? Furthermore, even if, arguendo, Anderson earnestly believed that

Plaintiff’s contract was ultra vires—a question of fact that Plaintiff should be

permitted to explore in discovery—that does not answer the question of why she

moved and voted to also terminate Plaintiff’s employment. It cannot be ignored that

Plaintiff worked for several years as the County’s CFO without any contract at all.

(Id. at ¶ 72.)

       Anderson was on fair notice from Eleventh Circuit and U.S. Supreme Court

precedent that it was a violation of the First Amendment to the U.S. Constitution for

a government employer to terminate or otherwise engage in adverse action against

an employee because of who that employee chose to marry. Because of this, and

because Plaintiff pled ample facts to state her claim, Anderson is not entitled to

qualified immunity, and Anderson’s motion for judgment on the pleadings should

be denied.

III.   CONCLUSION
       For all the aforementioned reasons, Anderson’s arguments in support of her

motion are premature or without firm legal or factual bases. Anderson’s motion

should be denied in its entirety.


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     Respectfully submitted this 12th day of January, 2023.

                                           BUCKLEY BEAL LLP

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             LR 7.1(D) FONT COMPLIANCE CERTIFICATION

      The undersigned counsel certifies that the within and foregoing RESPONSE

IN OPPOSITION TO DEFENDANT ALIEKA ANDERSON’S MOTION FOR

JUDGMENT ON THE PLEADINGS was prepared using Times New Roman 14

point font in accordance with Local Rule 5.1 of the United States District Court for

the Northern District of Georgia.

      This 12th day of January, 2023.

                                              BUCKLEY BEAL LLP

                                              /s/ Andrew R. Tate
                                              Andrew R. Tate
                                              Georgia Bar No. 518068




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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )          CIVIL ACTION NO.:
vs.                                 )          1:22-cv-04149-WMR
                                    )
FELICIA FRANKLIN, in her individual )          JURY TRIAL DEMANDED
and official capacities;            )
ALIEKA ANDERSON, in her individual)
and official capacities;            )
GAIL HAMBRICK, in her individual )
and official capacities; and        )
CLAYTON COUNTY, GEORGIA,            )
                                    )
                                    )
      Defendants.                   )

                          CERTIFICATE OF SERVICE

      I hereby certify that on January 12, 2023, I electronically filed the above

RESPONSE IN OPPOSITION TO DEFENDANT ALIEKA ANDERSON’S

MOTION FOR JUDGMENT ON THE PLEADINGS with the Clerk of Court

using the CM/ECF system, which will automatically send email notification of such

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